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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

SHENEKA LUCENIO,                                  §
                                                  §
       Plaintiff,                                 §
                                                  §
                                                  §         CIVIL ACTION NO.: ____________
v.                                                §
                                                  §                    JURY DEMANDED
                                                  §
HOUSTON INDEPENDENT SCHOOL                        §
DISTRICT                                          §
                                                  §
       Defendant,                                 §


                            PLAINTIFF’S ORIGINAL PETITION




TO THE HONORABLE JUDGE OF SAID COURT:

       Plaintiff Sheneka Lucenio (hereinafter “Plaintiff” or “Ms. Lucenio”) files this Original

Petition complaining of and about Defendant, Houston Independent School District., (hereinafter

“Defendant” or “HISD”), and for causes of action against them, would show the Court as follows:

                                I.      NATURE OF THE CLAIMS

       1.      This action is filed under 42 U.S.C. § 1981 (“Section 1981”), under Title VII of the

Civil Rights Act of 1964, and under 42 U.S.C. § 1983 to seek relief and correct unlawful

employment practices by HISD including race discrimination, retaliation, and unlawful

termination of employment.

       2.      This complaint seeks to recover actual and compensatory damages, including lost

wages and benefits in the past and future, in an amount within the jurisdictional limits of the Court.



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Plaintiff also seeks an award of damages for her mental anguish and pain and suffering she has

suffered, continues to suffer, and will suffer in the future. Lastly, Plaintiff seeks to recover

attorneys’ fees, pre-judgment and post-judgment interest, and costs of court.

                                    II.    PARTIES AND SERVICE

       3.      Plaintiff, Sheneka Lucenio, is a citizen of the United States and the State of Texas

and resides in Harris County, Texas. Plaintiff is a former employee of Defendant.

       4.      Defendant, Houston Independent School District (hereinafter “HISD” or

“Defendant”) is a political subdivision of the State of Texas. It is an independent school district

within the State of Texas, organizes pursuant to state law, and charged with the responsibilities of

operating and maintaining a public school system within its geographical boundaries. It may be

served through its Interim Superintendent, Dr. Grenita Lathan, Houston Independent School

District, 4400 West 18th street, Houston, Texas 77092.

                                III.      JURISDICTION AND VENUE

       5.      This Court has subject matter jurisdiction of this action pursuant to 28 U.S.C. §1331

as this case presents Federal questions, and pursuant to 28 U.S.C. §1367, which gives the district

court supplemental jurisdiction over state law claims.

       6.      Venue is proper in this Court as defendant Houston Independent School District is

political subdivision within Harris County, Texas, within this division of the Southern District of

the United States District Court.

                                IV.       CONDITIONS PRECEDENT

       7.      On December 26, 2019, Plaintiff timely filed a Charge of Discrimination against

the Defendant with the Houston Division of the Equal Employment Opportunity Commission,

EEOC Charge No. 460-2020-01583. Plaintiff received a right to sue from the EEOC on January




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15, 2021. Plaintiff files this complaint within 90 days of receiving the notice of right to sue. All

conditions precedent to filing this lawsuit have been performed or have occurred.

                                 V.      FACTUAL BACKGROUND

          8.    Plaintiff incorporates by reference all of the allegations set forth above.

          9.    On June 15, 2015, Ms. Lucenio, began her employment with Houston Independent

School District (hereinafter “HISD”) as a Senior Technology Project Manager. For over seven

years, Plaintiff encountered no performance issues or code of conduct violations with Defendant.

Plaintiff routinely exceeded expectations and was entrusted with various tasks due to her

extraordinary capabilities. In addition, Plaintiff had received only positive annual performance

reviews for every year spent at HISD, with the most recent ratings as “primarily effective.”

          10.   Ms. Lucenio observed bias and favorable treatment of non-African employees

throughout her employment beginning in March 2016 and this discrimination continued

throughout her employment until her date of termination. For example, prior to March 2016,

HISD’s Senior Technology Project Manager, Mr. Felix Lerma (Hispanic male, non-veteran) told

HISD staff that Mr. Lenny Schad (white male) promised Mr. Lerma a Specialist Project Manager

position. Subsequently, in March of 2016, Ms. Lucenio learned that the Specialist Project Manager

position in the Project Management Office became available but was not advertised. Instead, the

position was automatically given to Mr. Lerma just as he had foretold, though Mr. Lerma was

unqualified. Ms. Lucenio was not considered for the position, interviewed nor given the

opportunity to apply despite her superior credentials, in contravention of state law and HISD’s own

policy.

          11.   Throughout March 2016, Ms. Fancher subjected Ms. Lucenio to more hostile and

unfavorable treatment. For example, on March 30, 2016, during an HISD morning meeting, Ms.




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Fancher humiliated Ms. Lucenio while she discussed the support model for Nutrition Services.

Ms. Lucenio understood Nutrition Services to be her project prior to her maternity leave. As such,

when her peer asked questions regarding the support plan during the meeting, Ms. Lucenio took

initiative and began to explain why the support model for Nutrition Services should be separate

from Transportation and CFS. However, Ms. Fancher rudely interrupted and demanded Ms.

Lucenio stop speaking because Ms. Lucenio allegedly “[did] not know what [she was] talking

about.” Ms. Lucenio felt embarrassed and ridiculed before her peers. Ms. Fancher did not treat her

non-African American subordinates in a similar manner.

       12.     Around April 2016, Ms. Lucenio learned that Ms. Fancher, Ms. Pretti Burns, and

Mr. Frank Williams (“HISD Panel”) comprised a panel which interviewed Ms. Jayne Edwards

(African-American female), for a Senior Technology Project Manager position. The HISD Panel

ultimately selected Mr. Edgar Ciliberto (Hispanic male) and informed Ms. Edwards that she was

not qualified for the position because she allegedly did not have sufficient experience as a Project

Manager. However, Ms. Edwards, a Project Management Professional (“PMP”), held a master’s

degree, was a current HISD employee, and worked as a project manager under Ms. Fancher for at

least two years. Ms. Edwards was undoubtedly more qualified for the position than the selectee.

       13.     Continuing its biased and discriminatory pattern of hiring practices, on August 16,

2016, HISD failed to consider Ms. Lucenio for a promotion to Specialist Project Manager. Ms.

Lucenio questioned Ms. Fancher about the position and her potential qualification. Ms. Fancher

replied that HISD sought a candidate who was a PMP and with Six Sigma certification. However,

after reading the vacancy announcement, Ms. Lucenio confirmed that being a PMP or possessing

Six Sigma certification was not required for the position. As such, Ms. Lucenio applied for the

position. Immediately, after Ms. Lucenio applied and prior to the close of the application, Ms.




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Fancher informed Ms. Lucenio that she had already offered the position to Sergio Ascenio

(Hispanic male, non-veteran). Ms. Lucenio, confused, stated to Ms. Fancher that the application

close date was not until September 1, 2016. Ms. Fancher curtly replied that “[she] would not have

considered [Ms. Lucenio] anyway.”

       14.     HISD continued its biased and unfair treatment of Ms. Lucenio, by refusing to

investigate or properly address Ms. Lucenio’s complaints. For example, on October 19, 2016, Ms.

Lucenio complained to Mr. Patrick Porter (white male) and Ms. Fancher that a Senior IT Manager,

Ms. Debbie Young (white female), was sabotaging a project to which Ms. Lucenio was assigned.

Instead of investigating the matter, Ms. Lucenio was summarily taken off the project.

       15.     Ms. Lucenio made complaints to her supervisors about the discrimination she had

faced, but HISD continued its biased and unfair treatment of Ms. Lucenio and refused to

investigate or properly address Ms. Lucenio’s complaints through August 2017. For example, on

August 17, 2017, Ms. Lucenio communicated to Ms. Fancher that Stephanie Mracheck (HISD

vendor) provided staff with inaccurate information and breached an existing agreement. Ms.

Lucenio also complained to Ms. Fancher that Ms. Mracheck had attacked her integrity. However,

Ms. Fancher did not investigate Ms. Lucenio’s complaint. Instead, Ms. Fancher and HISD

continued with its pervasive favoritism toward non-African American women even if said women

were not direct employees of HISD. Again, on October 23, 2017, Ms. Lucenio complained to Ms.

Fancher that Ms. Mracheck called her a liar and attacked her integrity. Ms. Lucenio also

complained to Ms. Fancher that she was bullied, intimidated, and inappropriately chastised

publicly. Still Ms. Fancher and HISD failed to intervene or investigate.

       16.     Ms. Mracheck continued to subject Ms. Lucenio to hostile treatment through

January 2018, with the silent acquiescence of Ms. Fancher and HISD management. On January




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18, 2018, Ms. Mracheck again falsely attacked Ms. Lucenio’s integrity and impeccable credibility

by falsely accusing Ms. Lucenio of making inaccurate claims against the Infinite Campus (IC)

project and team. Only after calling Ms. Fancher, and yet again expressing her concerns, did Ms.

Fancher finally intervene regarding Ms. Mracheck’s harassment, false emails and comments.

         17.   In May 2018, Ms. Lucenio filed a grievance against Ms. Fancher, for targeting and

harassing her due to her race. Unsurprisingly, Ms. Lucenio’s claims of discrimination went

unresolved. No corrective action was taken and Ms. Fancher continued her employment without

discipline until her retirement in August of 2018.

         18.   In July 2018, Ms. Lucenio appeared as a witness in Susan Kaler’s (white female,

non-veteran) grievance and EEOC complaint brought against Mr. Lenny Schad, former HISD

CTO for racial discrimination and harassment of HISD employees. Ms. Lucenio was involved in

the HISD investigation addressing the allegations of discrimination, and subsequently suffered

retaliation from HISD employees for her participation. Ms. Lucenio provided her professional

opinion regarding the project in question and substantiated Ms. Kaylor’s allegations against Mr.

Schad.

         19.   Based on information and belief, due to the discrimination allegations against Mr.

Schad, HISD placed him on administrative leave from August 2018 to November 2018. Upon

returning from administrative leave, Mr. Schad began to retaliate against Ms. Lucenio for her

participation in the grievance filed against him. Mr. Scott Gilhousen, current HISD CTO, joined

Mr. Schad in targeting Ms. Lucenio and assisting Mr. Schad in discriminatorily targeting Ms.

Lucenio. Despite Ms. Lucenio performing her job to satisfaction, on December of 2018,

supervisor, Dr. Kristy Sailors, without cause or justification, removed Ms. Lucenio from the

Student Information System (SIS) project, which was on-going and funded. Ms. Lucenio was told




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she would take over another project after Mr. Alex Leal’s (Hispanic male) departure. Mr. Leal did

not leave however, and Ms. Lucenio was not reassigned to any projects for the following six

months. Meanwhile, Ms. Lucenio’s non-African American peers enjoyed an abundance of

assignments and worked on multiple projects.

       20.     After she was removed as project manager, she lost all her supervisory and

management oversight with contractors and worked solely in an ancillary fashion to other project

managers and peers. Ms. Lucenio reached out on multiple occasions to supervisors to be put on

another project in order for HISD to make full use of her experience, but HISD continued to

discriminate and retaliate against her and failed to place her in another management role.

       21.     During the last six months of Ms. Lucenio’s employment with HISD she applied to

seven separate positions within HISD but was refused promotion on each account. For the position

of CTE Computer Science Director, Ms. Lucenio was granted an interview but was denied the

position. The candidate selected, Dr. Malhan, had an educational background in botany and a

Master’s in English. Whereas Ms. Lucenio has a Master’s degree in Technology management and

a Bachelor’s in Computer Science and Management. Dr. Malhan had twenty years’ experience in

education, compared to Ms. Lucenio who had the same number of years’ experience but in the

more relevant field of Information Technology and Computer Science.

       22.     Bizarrely, in May of 2019, Ms. Lucenio was interviewed but not selected for a

Senior Manager, Information Technology (Pos. ID. 61563) position, a more senior position than

the Manager, Information Technology positions to which Ms. Lucenio had applied a few months

prior but not interviewed. HISD’s grant of an interview for the Senior Manager position was little

more than an apparent attempt at appeasement and mitigation of liability for its discriminatory

conduct highlighted by Ms. Lucenio’s complaints. For undoubtedly the same reasons, in June




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2019, Ms. Lucenio was also interviewed but not selected for another senior role, Director CTE

Computer Science (Pos. ID. 64590).


       23.     On or about June 10, 2019, while Ms. Lucenio was on vacation, Ms. Susan

Haught (white female), informed Ms. Lucenio telephonically that she was terminated effective

June 30, 2019, due to an alleged Reduction in Force (“RIF”).

       24.     During her conference for the record and subsequent termination meeting, Mr.

Porter and Dr. Sailors informed Ms. Lucenio that the IT department had no projects on the books

for the upcoming years. This was not true, however. In fact, the same project from which Ms.

Lucenio was removed in December 2018 is still on-going.

       25.     Additionally, Ms. Lucenio’s non-African American colleagues were able to

maintain their employment or were reassigned in lieu termination, unlike Ms. Lucenio. For

example, Ms. Kaler whose position was eliminated, was given the opportunity to retain her

employment with HISD through a reassignment, that matched her skillset, without a break in

service and with comparable compensation. Later, Ms. Noelia Longoria (Hispanic female) and

Ms. Imelda Lujan (Hispanic female) were able to maintain employment with HISD when they

were also reassigned.

       26.     Around June 2019, Ms. Lucenio filed a grievance against Dr. Sailors and Scott

Gilhousen, Interim CIO, for failing to reassign and for wrongfully terminating Ms. Lucenio. HISD

failed to properly investigate Ms. Lucenio’s complaints, however. For example, the HISD

favorable third-party investigator acknowledged in its report that Ms. Lucenio complained that

HISD “violated several polices, including Section 657.003, 005, and .007 of the Texas

Government Code…” The reporter continued that “During the July 26th conference, “I asked Ms.

Johnson-Lucenio to clarify the basis of her concerns. She told me that she was no longer alleging



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a violation of Sections 657.003, .005, and .007 of the Texas Government Code (“657 claims”)

related to a veterans employment preference, but instead was asserting that the District violated

Policy DC (Local), a policy that contains a veteran preference.” (See Investigation of Complaint

of Sheneka Johnson-Lucenio Outcome Report, p. 1). This was not true, however. Indeed, the

investigator failed to include in her report that she, the investigator, wrongfully advised Ms.

Lucenio to drop her 657 claims apparently because HISD had no justification for violations of the

Texas Government Code. Disturbingly the investigator inappropriately advised Ms. Lucenio that

she could not pursue the federal and state claims, thereby continuing the discriminatory and

retaliatory treatment of Ms. Lucenio.

       27.     Since July 2019, HISD posted multiple available positions for which Ms. Lucenio

qualified yet failed to rehire Ms. Lucenio.

       28.     On May 2020, HISD posted a job opening that required the same duties Ms.

Lucenio had previously carried out as an IT Project manager. Subsequently, Ms. Lucenio

submitted once more her application for this job posting but was rejected for the position. Ms.

Lucenio was then contacted by an employee of HISD and informed that while they would have

wanted to hire her, HISD prohibited her application from consideration due to her continuing

EEOC charge against HISD. Unlike her non-African American peers, to date Ms. Lucenio has

not been selected, reassigned or offered any available position for which she qualified at HISD.

This despite her appropriate qualifications and veteran status.




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                                     V.      CAUSES OF ACTION

COUNT NO. 1 - RACIAL DISCRIMINATION UNDER TITLE VII AND SECTION 1981

       29.     Title VII of the Civil Rights Act of 1964 and Section 1981 make it unlawful for an

employer to “fail or refuse to hire or to discharge an individual, or otherwise discriminate against

any individual because of that individual’s race”. See 42 U.S.C. § 2000e-2 and 42 U.S.C. § 1981.

       30.     Pursuant to 42 U.S.C. § 2000e-2 and to 42 U.S.C. § 1981, Plaintiff pleads a cause

of action against the Defendant for racial discrimination.

       31.     The allegations contained in all paragraphs of this complaint are hereby

incorporated by reference with the same force and effect as if set forth verbatim.

       32.     Defendant engaged in discrimination against Plaintiff, an African American

employee, by harassing her, undermining her authority, failing to promote and eventually

terminating her on the basis of her race.

       33.     Plaintiff was subjected to racially derogatory treatment and treated differently than

other similarly situated white employees in terms of policy application, discipline, and career

advancement opportunities.

       34.     Plaintiff was denied job promotions for allegedly being “unqualified” while white

employees far less qualified and experienced than her were offered the same promotions.

       35.     Plaintiff was demoted and eventually terminated because of her race, while less

qualified white employees were able to retain their employment despite the district’s

reorganization.

       36.     The effect of these practices has been to deprive Plaintiff of equal employment

opportunities and otherwise adversely affect her status as an employee.




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       37.     Plaintiff alleges that the Defendant harassed, failed to promote, wrongfully

terminated, and otherwise discriminated against her on the basis of her race in violation of Title

VII of the Civil Rights Act of 1964 and 42 U.S.C § 1981.

       38.     The allegations contained in all paragraphs of this complaint are hereby

incorporated by reference against the Defendant for retaliation.

        COUNT NO. 2 – RETALIATION UNDER TITLE VII AND SECTION 1981

       39.     Title VII of the Civil Rights Act of 1964 and 42 U.S.C. § 1981 makes it unlawful

for an employer to discriminate against an employee because the employee has “opposed any

practice made an unlawful employment practice by this subchapter, or because she has made a

charge, testified, assisted, or participate in any manner in an investigation, proceeding, or hearing

under this subchapter.” See 42 U.S.C. § 2000e-3 and 42 U.S.C. § 1981.

       40.     Pursuant to 42 U.S.C. § 2000e-3 and 42 U.S.C. § 1981, Plaintiff pleads a cause of

action against the Defendant for retaliation.

       41.     The allegations contained in all paragraphs of this complaint are hereby

incorporated by reference with the same force and effect as if set forth verbatim.

       42.     After Plaintiff’s complaint of harassment and racial discriminatory actions and

comments made by Ms. Fancher, Plaintiff was subjected to increased scrutiny and harassment by

Ms. Fancher.

       43.     In retaliation for her protected complaint, Plaintiff was repeatedly overlooked for

promotions and job opportunities.

       44.     In retaliation for her second protected complaint, Mr. Schad had Plaintiff demoted

as a project manager, removed her as the lead her team and terminated her employment.




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       45.     In retaliation for her protected complaints including her EEOC charge, Defendant

conspired against Plaintiff to prevent her from being rehired by HISD when a job opening became

available that had the same responsibilities as her previous position with HISD. An HISD

representative specifically informed Plaintiff she was deemed ineligible to be rehired by the school

district because of Plaintiff’s ongoing EEOC charge against the school district.

       COUNT NO. 2 – RETALIATION UNDER 42 U.S.C. § 1983

       46.     Defendant violated 42 U.S.C. § 1983, under color of law, by depriving Plaintiff of

her First Amendment Rights.

       47.      The allegations contained in all paragraphs of this complain are hereby

incorporated by reference with the same force and effect as if set forth verbatim.

       48.     Plaintiff’s grievance and EEOC charge against HISD was intended to expose a

matter of public concern in the form of racial discrimination at the hands of Defendant HISD. As

evidenced by the racial discrimination taking place in the HISD department, Plaintiff’s grievance

involved a matter of public concern.

       COUNT NO. 3 – FAILURE TO PROVDE VETERAN’S EMPLOYMENT

PREFERENCE

       49.      Texas Government Code Sec. 657.003 requires a state agency to provide an

individual, who qualifies for a veteran's employment preference, with a preference in employment

with or appointment to a state agency over other applicants for the same position who do not have

a greater qualification.

       50.     Pursuant to TX GOVT 657.003, Plaintiff pleads a cause of action against the

Defendant for failing to provide the veteran’s employment preference to Plaintiff, who qualified

as she is an honorably discharged U.S. Veteran.


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       51.     The allegations contained in all paragraphs of this complain are herby incorporated

by reference with the same force and effect as if set forth verbatim.



       COUNT NO. 4 –PATTERN OR PRACTICE OF DISCRIMINATION UNDER

U.S.C. § 12601

       52.     Pursuant to 34 U.S.C. § 12601, Plaintiff pleads a cause of action against the

Defendant for engaging in a pattern or practice of conduct by law enforcement or by officials or

employees of any governmental agency with responsibility for the administration of juvenile

justice or the incarceration of juveniles that deprives persons of rights, privileges, or immunities

secured by the Constitution or laws of the United States.

       53.      The allegations contained in all paragraphs of this complaint are hereby

incorporated by reference with the same force and effect as if set forth verbatim.

                                        VI.     DAMAGES

       54.     Plaintiff sustained damages as a result of the actions and/or omissions of Defendant

described herein. Accordingly, Plaintiff is entitled to an award of actual and compensatory

damages, including lost wages and benefits in the past and future, in an amount within the

jurisdictional limits of the Court. Plaintiff also seeks an award of damages for her mental anguish

and pain and suffering she has suffered, continues to suffer, and will suffer in the future.

       55.     Additionally, as a result of Defendant’s above-referenced actions and/or omissions,

Plaintiff was required to retain counsel to protect and enforce her legal rights. Accordingly,

Plaintiff also seeks compensation for her attorneys’ fees, pre-judgment and post judgment interest,

out-of-pocket expenses, expert fees and costs of Court she will have incurred in this action.

                                     VIII. JURY DEMAND




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       56.      Plaintiff respectfully requests a trial by jury on all issues to be tried in this matter.

                                           IX.      PRAYER

        For the reasons set forth above, Plaintiff Sheneka Lucenio respectfully prays that the
Defendant be cited to appear and answer herein, and that upon a final hearing of the cause,
judgment be entered for the Plaintiff against Defendant for:
       a. All damages to which Plaintiff may be entitled pursuant to this Original Complaint, or

             an amendment thereto, including but not limited to actual and compensatory damages,

             including lost wages and benefits in the past and future in an amount within the

             jurisdictional limits of the Court.

       b. Mental anguish and pain and suffering that she continues to suffer and will suffer.

       c. Reasonable attorney’s fees as allowed by law, with conditional awards in the event of

             appeal;

       d. Prejudgment interest at the highest rate permitted by law; Post-judgment interest from

             the judgment until paid at the highest rate permitted by law;

       e. Out of pocket expenses, expert fees, Costs of Court; and

       f. Such other and further relief, at law or in equity, to which Plaintiff may be entitled,

             whether by this Original Complaint or by proper amendment thereto.

                                                   Respectfully submitted,
                                                   TB Robinson Law Group, PLLC


                                                   ____________________________
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